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                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         SOUTHERN DIVISION

 STATE OF TENNESSEE, et
 al.                                                                    PLAINTIFFS

 v.                                                CAUSE NO. 1:24cv161-LG-BWR

 XAVIER BECERRA, in his
 official capacity as Secretary
 of the United States
 Department of Health and
 Human Services, et al.                                              DEFENDANTS


                          PRELIMINARY INJUNCTION

      For the reasons set forth in the Memorandum Opinion and Order entered

herewith,

      IT IS ORDERED AND ADJUDGED that the July 5, 2024, effective date of

the final rule entitled Nondiscrimination in Health Programs and Activities, 89 Fed.

Reg. 37,522 (May 6, 2024) is STAYED nationwide pursuant to 5 U.S.C. § 705, in so

far as this final rule is intended to extend discrimination on the basis of sex to

include discrimination on the basis of gender identity in the following regulations:

42 C.F.R. §§ 438.3, 438.206, 440.262, 460.98, 460.112; 45 C.F.R. §§ 92.5, 92.6, 92.7,

92.8, 92.9, 92.10, 92.101, 92.206-211, 92.301, 92.303, 92.304.

      IT IS FURTHER ORDERED AND ADJUDGED that the United States

Department of Health and Human Services, Xavier Becerra in his official capacity

as Secretary of HHS, Melanie Fontes Rainer in her official capacity as the Director

of the Office for Civil Rights, the Centers for Medicare and Medicaid Services, and
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Chiquita Brooks-LaSure in her official capacity as Administrator of the Centers for

Medicare and Medicaid Services are ENJOINED nationwide from enforcing,

relying on, implementing, or otherwise acting pursuant to the final rule entitled

Nondiscrimination in Health Programs and Activities, 89 Fed. Reg. 37,522 (May 6,

2024), to the extent that the final rule provides that “sex” discrimination

encompasses gender identity.

      SO ORDERED AND ADJUDGED this the 3rd day of July, 2024.

                                        s/    Louis Guirola, Jr.
                                        LOUIS GUIROLA, JR.
                                        UNITED STATES DISTRICT JUDGE




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